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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      §
                                              §
v.                                            §               No. 1:19-cr-00395
                                              §
LARRY DEAN HARMON                             §

                                          ORDER

       UPON PRESENTATION of defendant’s unopposed motion for extension of time

to file replies in response to DE. 39 and 40, it is hereby granted. Defendant shall be

permitted to file his replies by June 17, 2020.




       Dated this ____ day of June, 2020.



                                                  _________________________________
                                                  BERYL A. HOWELL
                                                  CHIEF JUDGE
                                                  UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF COLUMBIA
